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     Claire Tonry
 1
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 6   Hood River, Oregon 97031
 7   (541) 399-5312

 8   Attorneys for Plaintiff
 9
10
                                 UNITED STATES DISTRICT COURT
11                              WESTERN DISTRICT OF WASHINGTON
12                                        AT TACOMA

13    COLUMBIA RIVERKEEPER,               )
                                          )
14                  Plaintiff,            )
15    v.                                  )                   COMPLAINT
                                          )
16    MERCURY PLASTICS, INC.,             )
                                          )
17
                    Defendant.            )
18                                        )
      ___________________________________ )
19
20                                       I.     INTRODUCTION

21          1.      This action is a citizen suit brought under Section 505 of the Clean Water Act
22   (“CWA”) as amended, 33 U.S.C. § 1365. Plaintiff Columbia Riverkeeper seeks a declaratory
23
     judgment, injunctive relief, the imposition of civil penalties, and the award of costs, including
24
25   attorneys’ and expert witnesses’ fees, for Defendant Mercury Plastics, Inc.’s repeated and

26   ongoing violations of Sections 301(a) and 402 of the CWA, 33 U.S.C. §§ 1311(a) and 1342, and
27   the terms and conditions of its National Pollutant Discharge Elimination System (“NPDES”)
28
29    COMPLAINT - 1                                                    Smith & Lowney pllc
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     permit authorizing discharges of pollutants from Defendant’s Vancouver, Washington, facility to
 1
 2   navigable waters.

 3                                II.     JURISDICTION AND VENUE
 4
            2.      The Court has subject matter jurisdiction under Section 505(a) of the CWA, 33
 5
     U.S.C. § 1365(a). The relief requested herein is authorized by 33 U.S.C. §§ 1319(d) and
 6
 7   1365(a).

 8          3.      Under Section 505 (b)(1)(A) of the CWA, 33 U.S.C. § 1365(b)(1)(A), Plaintiff
 9
     notified Defendant of Defendant’s violations of the CWA and of Plaintiff’s intent to sue under
10
     the CWA by letter dated and postmarked August 13, 2021 and delivered August 16, 2021
11
12   (“Notice Letter”). A copy of the Notice Letter is attached to this complaint as Exhibit 1. The

13   allegations in the Notice Letter are incorporated herein by this reference. Plaintiff notified
14   Defendant’s Registered Agent, the Administrator of the United States Environmental Protection
15
     Agency (“USEPA”), the Administrator of USEPA Region 10, and the Director of the
16
     Washington Department of Ecology (“WDOE”) of its intent to sue Defendant by mailing copies
17
18   of the Notice Letter to these officials on August 13, 2021.
19          4.      More than sixty days have passed since the Notice Letter was served and the
20
     violations complained of in the Notice Letter are continuing or are reasonably likely to continue
21
     to occur. Defendant is in violation of its NPDES permit and the CWA. Neither the USEPA nor
22
23   the WDOE has commenced any action constituting diligent prosecution to redress these

24   violations.
25
            5.      The source of the violations complained of is located in Clark County,
26
     Washington, within the Western District of Washington, and venue is therefore appropriate in
27
28
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     the Western District of Washington pursuant to Section 505(c)(1) of the CWA, 33 U.S.C. §
 1
 2   1365(c)(1).

 3                                           III.    PARTIES
 4
            6.      Plaintiff, Columbia Riverkeeper, is suing on behalf of itself and its members.
 5
     Columbia Riverkeeper is a 501(c) non-profit corporation organized under the laws of the State of
 6
 7   Washington. The mission of Columbia Riverkeeper is to restore and protect the water quality of

 8   the Columbia River and all life connected to it, from the headwaters to the Pacific Ocean. To
 9
     achieve these objectives, Columbia Riverkeeper implements scientific, educational, and legal
10
     programs aimed at protecting water quality and the habitat in the Columbia River Basin. This
11
12   lawsuit is part of Columbia Riverkeeper’s effort to improve water quality in the Columbia River

13   Basin for purposes including recreation, habitat quality, and subsistence, recreational, and
14   commercial fishing.
15
            7.      Plaintiff has representational standing to bring this action. Columbia Riverkeeper
16
     has over 16,000 members, many of whom reside in the vicinity of waters affected by
17
18   Defendant’s discharges of pollutants. Members of Columbia Riverkeeper use and enjoy the
19   waters and surrounding areas that are adversely affected by Defendant’s discharges. Columbia
20
     Riverkeeper’s members use these areas for, inter alia, fishing, swimming, hiking, walking,
21
     photography, boating, and observing wildlife. Columbia Riverkeeper’s members have serious
22
23   concerns about the impacts of Defendant’s operations and polluted industrial stormwater

24   discharges on the Columbia River. The environmental, health, aesthetic, and recreational
25
     interests of Columbia Riverkeeper’s members have been, are being, and will be adversely
26
     affected by Defendant’s NPDES permit violations addressed herein and by the members’
27
28   reasonable concerns related to the effects of the violations and pollutant discharges. In addition,

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     discharges from Defendant’s facility lessen Columbia Riverkeeper’s members’ aesthetic
 1
 2   enjoyment of nearby areas. Columbia Riverkeeper’s members’ concerns about the effects of

 3   Defendant’s discharges are aggravated by Defendant’s failure to record and report information
 4
     about its discharges and pollution controls. These injuries are fairly traceable to the Defendant’s
 5
     violations of the CWA and are redressable by the Court.
 6
 7          8.      Plaintiff has organizational standing to bring this action. Plaintiff actively

 8   engages in a variety of educational and advocacy efforts to improve water quality and to address
 9
     sources of water quality degradation in the Columbia River and its tributaries. Defendant has
10
     failed to fulfill monitoring, recordkeeping, reporting, public disclosure, and planning
11
12   requirements, among others, necessary for compliance with its NPDES permit and the CWA. As

13   a result, Plaintiff is deprived of information that supports its ability to advance its mission and
14   serve its members by disseminating information and taking appropriate action. Plaintiff’s efforts
15
     to educate and advocate for greater environmental protection for the benefit of its members is
16
     thereby obstructed. Finally, Plaintiff and the public are deprived of information that influences
17
18   members of the public to become members of Columbia Riverkeeper, thereby reducing
19   Columbia Riverkeeper’s membership numbers. Thus, Plaintiff’s organizational interests have
20
     been adversely affected by Defendant’s violations. These injuries are fairly traceable to
21
     Defendant’s violations and are redressable by the Court.
22
23          9.      Defendant is a corporation authorized to do business in Washington.

24          10.     Defendant operates a thermoforming, plastics fabrication, and printing facility,
25
     located at or about 3807 SE Hidden Way, Vancouver, Washington, 98661, including contiguous
26
     or adjacent properties owned or operated by Defendant (the “facility”).
27
28
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                                     IV.    LEGAL BACKGROUND
 1
 2          11.     Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the discharge of

 3   pollutants by any person, unless in compliance with the provisions of the CWA. Section 301(a)
 4
     prohibits, inter alia, such discharges not authorized by, or in violation of, the terms of a NPDES
 5
     permit issued pursuant to Section 402 of the CWA, 33 U.S.C. § 1342.
 6
 7          12.     The State of Washington has established a federally approved state NPDES

 8   program administered by the WDOE. WASH. REV. CODE § 90.48.260; WASH. ADMIN.
 9
     CODE Ch. 173-220. This program was approved by the Administrator of the USEPA pursuant to
10
     33 U.S.C. § 1342(b).
11
12          13.     Pursuant to Section 402(a) of the CWA, 33 U.S.C. § 1342(a), the WDOE has

13   repeatedly issued the Industrial Stormwater General Permit (“ISGP” or “General Permit”), most
14   recently on November 20, 2019, effective January 1, 2020, and set to expire on December 3,
15
     2024 (the “2020 Permit”). The previous iteration of the permit was issued December 3, 2014,
16
     became effective January 2, 2015, and expired December 31, 2019 (the “2015 Permit”). The
17
18   2015 Permit and 2020 Permit (collectively, “the Permits”), contain substantially similar
19   requirements and authorize those that obtain coverage under the General Permit to discharge
20
     stormwater, a pollutant under the CWA, and other pollutants contained in the stormwater to the
21
     waters of the State subject to certain terms and conditions.
22
23          14.     The Permits impose certain terms and conditions on those covered thereby,

24   including monitoring and sampling of discharges, reporting and recordkeeping requirements. To
25
     reduce and eliminate pollutant concentrations in stormwater discharges, the Permits require,
26
     among other things, that permittees develop and implement best management practices
27
28   (“BMPs”) and a Stormwater Pollution Prevention Plan (“SWPPP”), and apply all known and

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     reasonable methods of prevention, control and treatment (“AKART”) to discharges. When a
 1
 2   permittee’s stormwater discharge exceeds benchmark values for concentrations of certain

 3   pollutants the Permits require the permittee to complete the applicable Level 1, 2, or 3 corrective
 4
     action requirements. The specific terms and conditions of the General Permit are described in
 5
     detail in the Notice Letter, attached hereto as Exhibit 1, and incorporated herein by this
 6
 7   reference.

 8                                             V.      FACTS
 9
            15.     Pursuant to Condition S2 of the Permits, WDOE granted the Defendant General
10
     Permit coverage for the facility under Permit Number WAR003984.
11
12          16.     Defendant’s facility is engaged in industrial activity and discharges stormwater

13   and other pollutants to the Columbia River via pipes, drains, and other discrete stormwater
14   conveyances.
15
            17.      Discharges from Defendant’s facility contribute to the polluted conditions of the
16
     waters of the State, including to the impairment of the Columbia River for temperature, dissolved
17
18   oxygen, turbidity, copper, zinc and aesthetic values, which has resulted in the inclusion of the
19   Columbia River on the 303(d) list of impaired waters. Discharges from Defendant’s facility
20
     contribute to the ecological impacts that result from the polluted state of these waters and to
21
     Plaintiff’s and their members’ injuries resulting therefrom.
22
23          18.     The vicinity of the facility and the receiving waters are used by the citizens of

24   Washington and visitors, as well as at least one of Plaintiff’s members, for recreational activities,
25
     including boating, biking, fishing and nature watching. Plaintiff’s member(s) also derive(s)
26
     aesthetic benefits from the receiving waters. Plaintiff’s and its members’ enjoyment of these
27
28
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     activities and waters is diminished by the polluted state of the receiving waters and by
 1
 2   Defendant’s contributions to such polluted state.

 3          19.     Defendant has violated the Permits and Sections 301(a) and 402 of the CWA, 33
 4
     U.S.C. §§ 1311(a) and 1342, by discharging pollutants in violation of an NPDES Permit.
 5
     Defendant’s violations of the Permits and the CWA are set forth in full in the Notice Letter,
 6
 7   attached hereto as Exhibit 1, and are incorporated herein by this reference. In particular and

 8   among the other violations described in the Notice Letter, Defendant has frequently failed to
 9
     monitor and report the quality of its stormwater discharges; discharged pollution in amounts that
10
     cause or contribute to violations of water quality standards; failed to prepare and implement a
11
12   compliant SWPPP; failed to comply with the Permits’ corrective action requirements; and failed

13   to implement best management practices to control stormwater quality as required by the
14   Permits.
15
            20.     Defendant has discharged stormwater containing levels of pollutants that exceed
16
     the benchmark values established in the Permits, as specified in Table 1 below. Defendant’s
17
18   stormwater discharges are causing or contributing to violations of water quality standards and
19   therefore violate the Permits, Condition S10.A. Additionally, Defendant’s exceedances of the
20
     benchmark values demonstrate that Defendant is failing to apply AKART to its discharges
21
     and/or is failing to implement an adequate SWPPP and BMPs. These requirements and
22
23   violations are described in detail in section II of the Notice Letter, attached hereto as Exhibit 1,

24   and are incorporated herein by this reference.
25
            21.     Defendant has sampled its stormwater discharges in the calendar quarters
26
     identified in Table 1 of this Complaint and determined that such discharges contained pollution
27
28   in amounts exceeding benchmarks, as shown in Table 1.

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     Table 1: Mercury Plastics Stormwater Discharges that Exceed Benchmark Values from 1st
 1
                                 Quarter 2016 to 2nd Quarter 2021
 2    Quarter in which      Turbidity             Zinc                Copper
      sample was collected (Benchmark 25 NTU) (Benchmark 117          (Benchmark 14 µg/L)
 3                                                µg/L)
 4    1Q 2016               43

 5    2Q 2016                  66

 6    1Q 2017                  38

 7    2Q 2017                  41.5                                              30.8

 8    3Q 2017                                           340
      2Q 2018                                           200
 9
      4Q 2018                  33                       132
10
      1Q 2019                  27
11
      1Q 2020                  52                       118
12
      3Q 2020                  36                       1000                     68
13
      4Q 2020                  27                       190
14
      2Q 2021                  37                       140
15
16
17          22.     The stormwater samples identified in Table 1 are representative of and accurately

18   characterize the quality of stormwater discharges generated by the facility during the associated
19
     calendar quarter.
20
            23.     Defendant has not developed and/or implemented a SWPPP in accordance with
21
22   the requirements of the Permits, Condition S3. Defendant’s SWPPP does not specify all of the

23   BMPs that are necessary to provide AKART and to ensure that discharges do not cause or
24
     contribute to violations of water quality standards, does not include a compliant site map, does
25
     not include an adequate facility assessment, inventory of industrial activities and inventory of
26
27   materials in sufficient detail, does not include a compliant stormwater sampling plan and does

28   not satisfy other requirements of the Permits, including certain mandatory BMPs. These SWPPP
29    COMPLAINT - 8                                                    Smith & Lowney pllc
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     requirements and violations are described in detail in section III of the Notice Letter, attached
 1
 2   hereto as Exhibit 1, and are incorporated herein by this reference.

 3          24.        Defendant has violated and continues to violate the monitoring requirements in
 4
     the Permits. See 2020 Permit Conditions S3.B.5, S4 and S9.B and E; 2015 Permit Conditions
 5
     S3.B.5, S4 and S9.A and D. Defendant has failed to collect stormwater samples and/or submit
 6
 7   discharge monitoring reports each quarter during the last five years that it failed to collect

 8   stormwater samples from all distinct points of discharge, including Outfall 3, which includes all
 9
     four quarters of 2016, all four quarters of 2017, all four quarters of 2018, all four quarters of
10
     2019, all four quarters of 2020, and to date in 2021.
11
12          25.        Defendant failed to collect stormwater samples and/or to submit a DMR within

13   the time prescribed for Monitoring Point 1 for the third quarter of 2016, second quarter of 2018,
14   first quarter of 2020, and for Monitoring Point 003 each and every quarter during the last five
15
     years. These monitoring requirements and violations are described in section IV of the Notice
16
     Letter, attached hereto as Exhibit 1, and are incorporated herein by this reference.
17
18          26.        Defendant has not conducted and/or documented inspections as required by the
19   Permit Condition S7. These inspection requirements and violations are described in detail in
20
     section IV.C of the Notice Letter, attached hereto as Exhibit 1, and are incorporated herein by
21
     this reference.
22
23          27.        Defendant has not conducted and/or completed the corrective action responses as

24   required by the Permits. Condition S8.B of the Permits require permittee to undertake a Level 1
25
     corrective action whenever it exceeds a benchmark value identified in Condition S5. A Level 1
26
     corrective action comprises an inspection to investigate the cause of the benchmark exceedance
27
28   within 14 days of receipt of the corresponding sample results, review of the SWPPP to ensure

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     permit compliance, revisions to the SWPPP to include additional operational source control
 1
 2   BMPs with the goal of achieving the applicable benchmark values in future discharges, including

 3   signature and certification of the revised SWPPP, summary of the Level 1 corrective action in
 4
     the annual report, and full implementation of the revised SWPPP as soon as possible, but no later
 5
     than the DMR due date for the quarter the benchmark was exceeded. Defendant was required to
 6
 7   complete a Level 1 corrective action for every benchmark exceedance identified in Table 1

 8   above. Defendant has not completed all of these corrective actions as required. These corrective
 9
     action requirements and violations are described in section V.A of the Notice Letter, attached
10
     hereto as Exhibit 1, and are incorporated herein by this reference.
11
12          28.     Condition S8.C of the Permits requires Defendant take specified actions, called

13   Level 2 corrective actions, each time quarterly stormwater sample results exceed any of the
14   benchmark values described in Conditions S5.A and S5.B for any two quarters in a calendar
15
     year. a Level 2 corrective action requires that Defendant: (1) review the SWPPP for the facility
16
     and ensure that it fully complies with Condition S3 of the Permits and contains the correct BMPs
17
18   from the applicable Stormwater Management Manual; (2) make appropriate revisions to the
19   SWPPP to include additional structural source control BMPs with the goal of achieving the
20
     applicable benchmark values in future discharges and sign and certify the revised SWPPP in
21
     accordance with the Permits; and (3) summarize the Level 2 corrective action (planned or taken)
22
23   in the Annual Report required under Condition S9.B of the Permits. Condition S8.C of the

24   Permits requires that Defendant implement the revised SWPPP as soon as possible, and no later
25
     than August 31 of the following year from the quarter the benchmark was exceeded. Defendant
26
     triggered and failed to perform Level 2 corrective actions including as follows: for turbidity
27
28   triggered by its stormwater sampling in calendar year 2016; for turbidity triggered by its

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     stormwater sampling in calendar year 2017; for zinc triggered by its stormwater sampling in
 1
 2   calendar year 2018; and for zinc and turbidity triggered by its stormwater sampling in calendar

 3   year 2020.
 4
            29.     Condition S8.D. of the Permits require a permittee to undertake a Level 3
 5
     corrective action whenever it exceeds a benchmark value for any three quarters during a calendar
 6
 7   year. A Level 3 corrective action comprises review of the SWPPP to ensure permit compliance,

 8   revision of the SWPPP to include additional treatment BMPs with the goal of achieving the
 9
     applicable benchmark value in future discharges, including signature and certification of the
10
     revised SWPPP in accordance with Condition S3.A.5., submit an engineering report with certain
11
12   elements to Ecology for review for any treatment BMPs that require a site-specific design or

13   sizing, summary of the Level 3 corrective action (planned or taken) in the annual report, and full
14   implementation of the revised SWPPP by September 30 of the following year, including
15
     installation of necessary treatment BMPs. Defendant triggered Level 3 response requirements
16
     for turbidity and zinc in 2020. Defendant has not completed all of the corrective actions as
17
18   required. These corrective action requirements and violations are described in section V.C of the
19   Notice Letter, attached hereto as Exhibit 1, and are incorporated herein by this reference.
20
            30.     Defendant is violating the recordkeeping requirements of the Permits. The
21
     recordkeeping requirements are outlined in Condition S9.D of the Permits. The Permits require
22
23   the retention of the records identified for a minimum of five (5) years. Defendant is in violation

24   of this condition by failing to retain the sampling documentation of Condition S4.B.4, the
25
     inspection documentation of S7, equipment calibration records, all BMP maintenance records, all
26
     original recordings for continuous sampling instrumentation, copies of all laboratory reports as
27
28
29    COMPLAINT - 11                                                  Smith & Lowney pllc
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     described in S3.B.5, all DMRs, or copies of any other reports required by the Permit for the
 1
 2   specified five-year period.

 3          31.        Defendant has failed to provide Columbia Riverkeeper with a copy of (or access
 4
     to) its SWPPP as requested in section IX of the Notice Letter and as required by Condition S9.F
 5
     of the Permits.
 6
 7          32.        A significant penalty should be imposed against Defendant pursuant to the

 8   penalty factors set forth in 33 U.S.C. § 1319(d).
 9
            33.        Defendant’s violations of the CWA degrade the environment and the water
10
     quality of the receiving water bodies.
11
12          34.        Defendant’s violations were avoidable had Defendant been diligent in overseeing

13   facility operations and maintenance.
14          35.        Defendant has benefited economically as a consequence of its violations and its
15
     failure to implement improvements at the facility.
16
                                         VI.    CAUSE OF ACTION
17
18          36.        The preceding paragraphs and the allegations in sections II through IX of the
19   Notice Letter are incorporated herein.
20
            37.        Defendant's violations of its NPDES permit described herein and in the Notice
21
     Letter constitute violations of “effluent standard(s) or limitation(s)” as defined by section 505, 33
22
23   U.S.C. § 1365.

24          38.        The violations committed by Defendant are ongoing or are reasonably likely to
25
     continue to occur. Any and all additional violations of the General Permit and the CWA which
26
     occur after those described in Plaintiff’s Notice Letter but before a final decision in this action
27
28   should be considered continuing violations subject to this Complaint.

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            39.     Without the imposition of appropriate civil penalties and the issuance of an
 1
 2   injunction, Defendant is likely to continue to violate the General Permit and the CWA to the

 3   further injury of the Plaintiff, its member(s) and others.
 4
            40.     A copy of this Complaint is being served upon the Attorney General of the United
 5
     States and the Administrator of the USEPA as required by 33 U.S.C. § 1365(c)(3).
 6
 7                                     VII.    RELIEF REQUESTED

 8          Wherefore, Plaintiff respectfully requests that this Court grant the following relief:
 9
            A.      Issue a declaratory judgment that Defendant has violated and continues to be in
10
     violation of the Permits and Sections 301 and 402 of the Clean Water Act, 33 U.S.C. §§ 1311
11
12   and 1342;

13          B.      Enjoin Defendant from operating its facility in a manner that results in further
14   violations of the Permits or the Clean Water Act;
15
            C.      Order Defendant to immediately implement a SWPPP that complies with the
16
     2020 Permit, and to provide Plaintiff with a copy of this Plan;
17
18          D.      Order Defendant to allow Plaintiff to participate in the development and
19   implementation of Defendant’s SWPPP;
20
            E.      Order Defendant to provide Plaintiff, for a period beginning on the date of the
21
     Court’s Order and running for one year after Defendant achieves compliance with all of the
22
23   conditions of the Permits, with copies of all reports and other documents which Defendant

24   submits to the USEPA or to the WDOE regarding Defendant’s coverage under the General
25
     Permit at the time it is submitted to these authorities;
26
            F.      Order Defendant to take specific actions to remediate the environmental harm
27
28   caused by its violations;

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            G.     Grant such other preliminary and/or permanent injunctive relief as Columbia
 1
 2   Riverkeeper may from time to time request during the pendency of this case;

 3          H.     Order Defendant to pay civil penalties of $55,800.00 per day of violation for each
 4
     violation committed by Defendant since November 2, 2015 and $37,500.00 per day of violation
 5
     for each violation committed by Defendant before November 2, 2015 pursuant to Sections
 6
 7   309(d) and 505(a) of the CWA, 33 U.S.C. §§ 1319(d) and 1365(a), and 40 C.F.R. § 19;

 8          I.     Award Plaintiff their litigation expenses, including reasonable attorneys’ and
 9
     expert witness fees, as authorized by Section 505(d) of the CWA, 33 U.S.C. § 1365(d); and
10
            J.     Award such other relief as this Court deems appropriate.
11
12
13          RESPECTFULLY SUBMITTED this 21st day of October, 2021.
14                        Smith & Lowney, pllc
15
                          By: s/Claire Tonry
16                        Claire Tonry, WSBA No. 44497
17                        Attorneys for Plaintiff
                          2317 E. John St.,
18                        Seattle, WA 98112
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21
22                        COLUMBIA RIVERKEEPER
23                        By: s/Simone Anter
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                          Tel: (541) 399 -5312
27                        E-mail: simone@columbiariverkeeper.org
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29    COMPLAINT - 14                                                 Smith & Lowney pllc
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                     Exhibit 1
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                            Smith & Lowney, p.l.l.c.
                                  2317 East John Street
                                Seattle, Washington 98112
                                (206) 860-2883, Fax (206) 860-4187


                                         August 13, 2021

Via CERTIFIED MAIL - Return Receipt Requested

Managing Agent
Mercury Plastics, Inc.
3807 SE Hidden Way
Vancouver, WA 98661

Re: NOTICE OF INTENT TO SUE UNDER THE CLEAN WATER ACT AND
REQUEST FOR COPY OF STORMWATER POLLUTION PREVENTION PLAN

Dear Managing Agent:

       We represent Columbia Riverkeeper, 407 Portway Ave, Suite 301, Hood River, OR
97031. This letter provides’ notice of Columbia Riverkeeper’s intent to file a citizen suit against
Mercury Plastics, Inc. (“Mercury Plastics”) under Section 505 of the Clean Water Act (“CWA”),
33 U.S.C. § 1365, for violations described below. This letter also requests a copy of the complete
and current stormwater pollution prevention plan (“SWPPP”) required by Mercury Plastic’s
National Pollution Discharge Elimination System (“NPDES”) permit.

        Mercury Plastics was granted coverage under Washington’s Industrial Stormwater
General Permit (“ISGP”) issued by the Washington Department of Ecology (“Ecology”) which
became effective on January 2, 2015, and expired on December 31, 2019 under NPDES Permit
WAR003984 (the “2015 Permit”). Ecology granted subsequent coverage under the current
iteration of the ISGP, issued by Ecology November 20, 2019, effective January 1, 2020, and set
to expire on December 31, 2024 (the “2020 Permit”) (collectively with the 2015 Permit, the
“Permits”) under the same permit number, WAR003984.

         Mercury Plastics has violated and continues to violate effluent standard and limitations
under the CWA (see 33 U.S.C. § 1365(a) and (f)) including the terms and conditions of the
Permits with respect to the operation of, and discharges of stormwater and pollutants from its
facility located at or near 3807 SE Hidden Way, Vancouver, Washington 98661 (the “facility”),
where it operates a thermoforming, plastic fabrication, and printing services facility. The facility
subject to this Notice includes any contiguous or adjacent properties owned by Mercury Plastics.

  I.   COLUMBIA RIVERKEEPER’S COMMITMENT TO PROTECTING A
       FISHABLE AND SWIMMABLE COLUMBIA RIVER.

       Columbia Riverkeeper’s mission is to restore and protect the water quality of the
Columbia River basin and all life connected to it, from the headwaters to the Pacific Ocean.
Columbia Riverkeeper is a non-profit organization with members who live, recreate, and work
through the Columbia River basin, including near and downstream of Mercury Plastics’ facility.


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        Threats facing the Columbia River and its tributaries are severe by any measure. See
ENVIRONMENTAL PROTECTION AGENCY, COLUMBIA RIVER BASIN: STATE OF THE RIVER REPORT
FOR TOXICS (Jan. 2009),
https://www.epa.gov/sites/production/files/documents/columbia_state_of_the_river_report_jan20
09.pdf. In fact, the vast majority of rivers and streams in Washington State fail to meet basic
state water quality standards for pollutants such as toxins and temperature. See generally Water
Quality Assessment & 303(d) List, WASHINGTON STATE DEPARTMENT OF ECOLOGY,
https://ecology.wa.gov/Water-Shorelines/Water-quality/Water-improvement/Assessment-of
state-waters-303d (last visited Feb. 20, 2020) (providing resources on impaired waterbodies in
Washington State). Water quality standards are designed to protect designated uses, including
aquatic life, fishing, swimming, and drinking water.

         Stormwater runoff is “one of the great challenges of water pollution control” and “is a
principal contributor to water quality impairment of water bodies nationwide.” N ATIONAL
RESEARCH COUNCIL, URBAN STORM MANAGEMENT IN THE UNITED STATES vii (Oct. 15, 2008),
https://www3.epa.gov/npdes/pubs/nrc_stormwaterreport.pdf. When rain sends runoff across
streets, construction projects, and industrial facilities, the water picks up contaminants that are
drained into waterways such as the Columbia River and its tributaries. To address this leading
cause of water quality impairment, Columbia Riverkeeper invests significant time and resources
in reducing pollutant loads from industrial, municipal, and construction stormwater sources.

        This Notice of Intent to Sue Mercury Plastics is part of Columbia Riverkeeper’s efforts to
improve water quality in the Columbia River Basin for purposes including swimming, habitat
quality, and subsistence, recreational, and commercial fishing. Columbia Riverkeeper has serious
concerns about the impacts of Mercury Plastics’ operations and industrial stormwater discharges
on the Columbia River and its tributaries. As discussed below, Mercury Plastics has habitually
failed to properly sample and report its stormwater discharges and failed to adopt and implement
an SWPP that satisfies the requirements of Washington State’s ISGP. Mercury Plastics’
operations and stormwater discharges degrade water quality in the Columbia River Basin and
may contribute to conditions that place the health of those who use the Columbia River and its
tributaries at risk.

II.    COMPLIANCE WITH STANDARDS

       A.      Violations of Water Quality Standards

        Condition S10.A of the Permits prohibits discharges that cause or contribute to violations
of water quality standards. Water quality standards are the foundation of the CWA and
Washington’s efforts to protect clean water. Specifically, water quality standards represent the
U.S. Environmental Protection Agency (“the EPA”) and Ecology’s determination, based on
scientific studies, of the thresholds at which pollution starts to cause significant adverse effects
on fish or other beneficial uses. For each water body in Washington State, Ecology designates
the “beneficial uses” that must be protected through the adoption of water quality standards.

       A discharger must comply with both narrative and numeric criteria water quality
standards WASH. ADMIN. CODE §§ 173-201A-010, -510 (“No waste discharge permit can be

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issued that causes or contributes to a violation of water quality criteria, except as provided for in
this chapter.”). Narrative water quality standards provide legal mandates that supplement the
numeric criteria. Furthermore, the narrative water quality standard applies with equal force even
if Ecology has established a numeric water quality standard. Condition S10.A of the Permits
requires that Mercury Plastics’ discharges not cause or contribute to an excursion of Washington
State water quality standards.

         Mercury Plastics directly discharges to the Columbia River, a Critical Large Aquatic
Ecosystem. The section of the Columbia to which Mercury Plastics Discharges does not meet
water quality standards for temperature or dissolved oxygen and is included on the state’s
“303(d) list” of impaired water bodies. Mercury Plastics discharges stormwater that contains
elevated levels of copper, zinc, and turbidity, as indicated in the table of benchmarks excursions
below. These discharges cause and/or contribute to violations of water quality standards for
turbidity, zinc, copper in the Columbia River; and violations of the aquatic life criteria, primary
contact criteria, water supply criteria, wildlife habitat criteria, harvesting criteria, commerce and
navigation criteria, boating criteria, and aesthetics criteria for the Columbia River. These
violations have occurred each and every day during the last five years on which there was 0.1
inch or more of precipitation, and continue to occur. See WASH. ADMIN. CODE §§ 173-201A-
200 (fresh water designated uses and criteria), (1)(a)(b) (general criteria that apply to all aquatic
life fresh water uses), 1(e) (turbidity criteria), 2(a) (general criteria applicable to fresh water
recreational uses), (4) (miscellaneous uses including wildlife habitat, harvesting commerce and
navigation, boating, and aesthetics general criteria); § 173-201A-240 (toxic substances criteria
for copper and zinc), 173-201A-260 (natural conditions and other water quality criteria and
applications), 173-201A-600 (use designations – fresh waters), 173-201A 602 (designated uses
for the Columbia River including aquatic life use: spawning/rearing; recreation use: primary
contact recreation; water supply uses: domestic, industrial, agricultural, stock, wildlife habitat;
and miscellaneous uses: harvesting, commerce and navigation, boating, aesthetics). Precipitation
data from that time period is appended to this Notice of Intent to Sue and identifies the days on
which there was 0.1 inch or more of precipitation.

       Table 1: Benchmark Exceedances- bold values indicate exceedances
 Quarter in which     Turbidity            Zinc                   Copper
 sample was collected (Benchmark 25 NTU) (Benchmark 117           (Benchmark 14 µg/L)
                                           µg/L)
 1Q 2016              43
 2Q 2016              66
 1Q 2017              38
 2Q 2017              41.5                                        30.8
 3Q 2017                                   340
 2Q 2018                                   200
 4Q 2018              33                   132
 1Q 2019              27
 1Q 2020              52                   118
 3Q 2020              36                   1000                   68
 4Q 2020              27                   190
 2Q 2021              37                   140

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       B.      Compliance with AKART Standards

       Condition S10.C of the Permits requires Mercury Plastics to apply all known and
reasonable methods of pollution prevention, control, and treatment (“AKART”) to all discharges,
including preparing and implementing an adequate SWPPP and best management practices
(“BMPs”). Mercury Plastics has violated and continues to violate this condition by failing to
apply AKART to its discharges by, among other things, failing to implement an adequate
SWPPP and BMPs. These violations have occurred on each and every day since Ecology issued
Mercury Plastics ISGP coverage and continue to occur every day.

        Condition S1.A of the Permits requires that all discharges and activities authorized be
consistent with the terms and conditions of the Permits. Mercury Plastics has violated these
conditions by discharging and acting inconsistent with the conditions of the Permits as described
in this Notice of Intent to Sue.

III.   STORMWATER POLLUTION PLAN VIOLATIONS

        Mercury Plastics has not developed and implemented a SWPPP that complies with the
requirements of the Permit. The violations of the Permit’s SWPPP provisions described below
have occurred each and every day for the last five years and will continue to occur each day for
the foreseeable future.

       1.      Condition S3.A of the Permits requires Mercury Plastics to create and implement
a SWPPP that is consistent with the Permits’ requirements and to update the SWPPP as
necessary to maintain compliance with the Permits’ conditions. Mercury Plastics is violating
Condition S3.A of the Permits because Mercury Plastics SWPPP is not consistent with the
Permits requirements for a SWPPP, is not fully implemented, and has not been updated as
necessary.

        2.    Condition S3.A.2 of the 2015 Permit and Condition S3.A.1 of the 2020 Permit
require the SWPPP to specify BMPs necessary to provide AKART. Mercury Plastics is violating
Condition S3.A.2 of the Permits because Mercury Plastics has failed to prepare a SWPPP that
includes AKART BMPs and BMPs necessary to comply with state water quality standards.

        3.      Mercury Plastics’ SWPPP fails to satisfy Condition S3 of the Permits because it
does not adequately describe the necessary BMPs. Condition S3.B.4 of the Permits requires that
the SWPPP include a description of BMPs that are necessary for the facility to eliminate or
reduce the potential to contaminate stormwater. Condition S3.B.4 of the Permits also requires
that the SWPPP detail how and where the selected BMPs will be implemented. Condition S3.A.3
of the stormwater technical manuals of the 2015 Permit and Condition S3.A.2 of the 2020 Permit
require that the SWPPP include BMPs consistent with approved stormwater technical manuals
(or document how stormwater BMPs included in the SWPPP in the SWPPP are demonstratively
equivalent to the practices contained in the approved stormwater technical manuals, including
the proper selection, implementation, and maintenance of all applicable and appropriate BMPs).
WASHINGTON STATE DEPARTMENT OF ECOLOGY, PUB. NO. 19-10-021, STORMWATER
MANAGEMENT MANUAL FOR WESTERN WASHINGTON (July 2019),

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https://fortress.wa.gov/ecy/ezshare/wq/Permits/Flare/2019SWMMWW/Content/Resources/Docs
ForDownload/2019SWMMWW.pdf (current stormwater management manual for Western
Washington). Mercury Plastics’ SWPPP does not comply with these requirements because it
does not adequately describe and explain in detail the BMPs selected, does not include BMPs
consistent with approved stormwater technical manuals, does not include BMPs that are
demonstratively equivalent to approved BMPs with documentation of BMP adequacy, or does
not include preventative maintenance BMPs.

        4.       Mercury Plastics’ SWPPP fails to satisfy the requirements of Condition S3.B.1 of
the Permits because it does not include a site map that identifies significant features, stormwater
drainage, and discharge structures, stormwater drainage areas for each stormwater discharge
point off-site, a unique identifying number for each discharge point, each sampling location with
a unique identifying number, paved areas and buildings, areas of pollutant contact associated
with specific industrial activities, conditionally approved non-stormwater discharges, surface
water locations, areas of existing and potential erosion, vehicle maintenance areas, and lands and
waters adjacent to the site that may be helpful in identifying discharge points or drainage routes.

        5.      Mercury Plastics’ SWPPP fails to satisfy the requirements of Condition S3.B.2 of
the Permits because it fails to include a facility assessment. The SWPPP fails to include an
adequate facility assessment because it does not adequately describe the industrial activities
conducted at the site, the general layout of the facility including buildings and storage of raw
materials, the flow of goods and materials through the facility, the regular business hours, and
the seasonal variations in business hours or industrial activities.

        6.      Mercury Plastics’ SWPPP fails to comply with Condition S3.B.2.b of the Permits
because it does not include an inventory of industrial activities that identifies all areas associated
with industrial activities that have been or may potentially be sources of pollutants. Specifically,
the SWPPP does not identify all areas associated with outdoor storage of materials or products;
outdoor manufacturing and processing; onsite dust or particulate generating processes; on-site
waste treatment, storage, or disposal; vehicle and equipment fueling, maintenance, and/or
cleaning; roofs or other surfaces exposed to air emissions from a manufacturing building or a
process area; and roofs or other surfaces composed of materials that may be mobilized by
stormwater, as required by the Permits.

         7.     Mercury Plastics’ SWPPP does not comply with Condition S3.B.2.c of the
Permits because it does not include an adequate inventory of materials. More precisely, the
SWPPP does not include: an inventory of materials that lists the types of materials handled at the
site that potentially may be exposed to precipitation or runoff and that could result in stormwater
pollution; a short narrative for each material describing the potential for pollutants to be present
in stormwater discharge that is updated when data becomes available to verify the presence or
absence of pollutants; or a narrative description of any potential sources of pollutants from past
activities, materials, and spills that were previously handled, treated, stored, or disposed of in a
manner to allow ongoing exposure to stormwater, as required. The SWPPP also does not include
the method and location of on-site storage or disposal of such materials and a list of significant
spills and significant leaks of toxic or hazardous pollutants, as required by the Permits.



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       8.      Mercury Plastics’ SWPPP does not comply with Condition S3.B.3 of the Permits
because it does not identify specific individuals by name or title whose responsibilities include
SWPPP development, implementation, maintenance, and modification.

        9.      Condition S3.B.4 of the Permits requires that permittees include in their SWPPPs,
and implement, certain mandatory BMPs unless site conditions render the BMP unnecessary,
infeasible, or an alternative and equally effective BMP is provided. Mercury Plastics is in
violation of these requirements because it has failed to include in its SWPPP, and implement, the
mandatory BMPs required by the Permits, as detailed below.

        10.     Mercury Plastics’ SWPPP does not comply with Condition S3.B.4.b.i of the
Permits because it does not include required operational source control BMPs in the following
categories: good housekeeping (including definition of ongoing maintenance and clean off areas
that may contribute pollutants to stormwater discharges, and a schedule/frequency for each
housekeeping task); preventive maintenance (including BMPs to inspect and maintain
stormwater drainage and treatment facilities, source controls, treatment systems, and plant
equipment and systems, and the schedule/frequency for each task); spill prevention and
emergency cleanup plan (including BMPs for preventing spills that can contaminate stormwater;
for material handling procedures; storage requirements; cleanup equipment and procedures; and
spill logs); employee training (including an overview of what is in the SWPPP, how employees
make a difference in complying with the SWPPP, spill response procedures, good housekeeping,
maintenance requirements, material management practices, how training will be conducted, the
frequency/schedule of training, and a log of the dates on which specific employees received
training); and inspections and recordkeeping (including documentation of procedures to ensure
compliance with permit requirements for inspections and recordkeeping, identification of
personnel who conduct inspections, provision of a tracking or follow-up procedure to ensure that
a report is prepared and appropriate action taken in response to visual monitoring, definition of
how Mercury Plastics will comply with signature and record retention requirements, certification
of compliance with the SWPPP and Permits, and all inspection reports completed by Mercury
Plastics).

        11.    Mercury Plastics’ SWPPP does not comply with Condition S3.B.4.b.i.7 of the
Permits because it does not include measures to identify and eliminate the discharge of process
wastewater, domestic wastewater, noncontact cooling water, and other illicit discharges.

        12.    Mercury Plastics’ SWPPP does not comply with Condition S3.B.4.b.ii of the
Permits because it does not include required structural source control BMPs to minimize the
exposure of manufacturing, processing, and material storage areas to rain, snow, snowmelt, and
runoff. Mercury Plastics’ SWPPP does not comply with Condition S3.B.4.b.iii of the Permits
because it does not include treatment BMPs as required.

       13.     Mercury Plastics’ SWPPP fails to comply with Condition S3.B.4.b.v of the
Permits because it does not include BMPs to prevent the erosion of soils or other earthen
materials and prevent off-site sedimentation and violations of water quality standards.

       14.     Mercury Plastics’ SWPPP does not comply with Condition S3.B.5 of the Permits

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because the SWPPP fails to include all of the minimum required details of the stormwater
sampling plan. The SWPPP does not include a sampling plan that: identifies points of discharge
to surface waters, storm sewers, or discrete groundwater infiltration locations; documents why
any discharge point is not sampled; identifies each sampling point by its unique identifying
number; identifies staff responsible for conducting stormwater sampling; specifies procedures for
sample collection and handling; specifies procedures for sending samples to the a laboratory;
identifies parameters for analysis, holding times and preservatives, laboratory quantization
levels, and analytical methods; or specifies the procedure for submitting the results to Ecology.

IV.    MONITORING AND REPORTING VIOLATIONS

       A.      Failure to Collect Quarterly Samples

        Condition S4.B of the Permits requires Mercury Plastics to sample its stormwater
discharge once during every calendar quarter. Conditions S.3.B.5.b and S4.B.2.c of the 2000
Permit and Conditions S3.B.5.b and S4.B.3.a of the 2020 Permit requires Mercury Plastics to
collect stormwater samples at each distinct point of discharge offsite except for substantially
identical outfalls for each pollutant described in Table 2 of the Permits. Mercury Plastics has
violated these permit conditions each quarter during the last five years that it failed to collect
stormwater samples from all distinct points of discharge, including Outfall 3, which includes all
four quarters of 2016, all four quarters of 2017, all four quarters of 2018, all four quarters of
2019, all four quarters of 2020, and the first two quarters of 2021. . These violations will
continue until Mercury Plastics commences monitoring all distinct points of discharge.

       B.      Failure to Timely Submit Discharge Monitoring Reports.

        Condition S9.A of the 2015 Permit and Condition S9.B of the 2020 Permit require
Mercury Plastics to use DMR forms provided or approved by Ecology to summarize, report and
submit monitoring data to Ecology. For each monitoring period (calendar quarter) a DMR must
be completed and submitted to Ecology not later than 45 days after the end of the monitoring
period. Mercury Plastics has violated these conditions by failing to submit a DMR within the
time prescribed for Monitoring Point 1 for the third quarter of 2016, second quarter of 2018, first
quarter of 2020, and for Monitoring Point 003 each and every quarter during the last five years.

       C.      Failure to Comply with Visual Monitoring Requirements

         Conditions S7.A of the Permits requires that monthly inspections be conducted at the
facility by qualified personnel. Condition S7.B of the Permits requires that each inspection
include observations made at stormwater sampling locations and areas where stormwater
associated with industrial activity is discharged; observations for the presence of floating
materials, visible sheen, discoloration, turbidity, odor, etc. in the stormwater discharges;
observations for the presence of illicit discharges; a verification that the descriptions of potential
pollutant sources required by the Permit are accurate; a verification that the site map in the
SWPPP reflects current conditional; and an assessment of all BMPs that have been implemented
(noting the effectiveness of the BMPs inspected, the locations of BMPs that need maintenance,


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the reason maintenance is needed and a schedule for maintenance, and locations where additional
or different BMPs are needed).

        Conditions S7.C of the Permits requires that Mercury Plastics record the results of each
inspection in an inspection report or checklist that is maintained on-site and documents the
observations, verifications, and assessments required. The report/checklist must include the time
and date of the inspection, the locations inspected, a statement that, in the judgement of the
person conducting the inspection and the responsible corporate officer, the facility is either in
compliance or out of compliance with the SWPPP and the Permit, a summary report and
schedule of implementation of the remedial actions that Mercury Plastics plans to take if the site
inspection indicates that the facility is out of compliance, the name, title, signature, and
certification of the person conducting the facility inspection, and a certification and signature of
the responsible corporate officer or a duly authorized representative.

        Mercury Plastics is in violation of these requirements of Condition S7 of the Permits
because, during the last five years, it has failed to conduct each of the requisite visual monitoring
and inspections, failed to prepare and maintain the requisite inspections reports or checklists, and
failed to make the requisite certification and summaries.

V.     CORRECTIVE ACTION VIOLATIONS

       A.      Failure to Implement Level One Corrective Actions.

       Condition S8.B of the Permits requires Mercury Plastics take a specified action called a
“Level One Corrective Action,” each time quarterly stormwater sample results exceed any of the
benchmark values described in Conditions S5.A and S5.B of the Permits.

        As described by Permit Condition S8.B a Level One Corrective Action requires Mercury
Plastics: (1) review the SWPPP for the facility and ensure that it fully complies with Permit
Condition S3 and contains the correct BMPs from the applicable Stormwater Management
Manual; (2) make appropriate revisions to the SWPPP to include additional operational source
control BMPs with the goal of achieving the applicable benchmark values in future discharges
and sign and certify the revised SWPPP in accordance with the Permit; and (3) summarize the
Level One Corrective Action in the Annual Report required under Permit Condition S9.B of the
Permits. Condition S8.B of the Permits requires that Mercury Plastics implement the revised
SWPPP as soon as possible and no later than the DMR due dates for the quarter the benchmark
exceeded.

       Conditions S5.A and S5.B of the Permits and Tables 2 and 3 of the Permits establish the
following applicable benchmarks: turbidity 25 NTU; total copper 14 μg/L; and total zinc 117
μg/L.

        Mercury Plastics violated the Level One Corrective Action requirements of the Permits
described above by failing to conduct Level One Corrective Action in accordance with Permit
conditions, including the required investigation, the required review, revision, and certification
of the SWPPP, the required implementation of additional BMPs, and the required summarization


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in the annual report each time quarterly stormwater sampling results were greater than a
benchmark. The facility has violated the requirements of the Permits described above by failing
to conduct sufficient Level One Corrective Actions in response to each benchmark exceedance
that occurred within the last five years, including, but not limited to exceedances identified in
Table 1 of this Notice of Intent to Sue.

       B.      Failure to Implement Level Two Corrective Actions.

        Condition S8.C of the Permits requires Mercury Plastics take specified actions, called
“Level Two Corrective Action,” each time quarterly stormwater sample results exceed any of the
benchmark values described in Conditions S5.A and S5.B for any two quarters in a calendar
year. The Permits establish the benchmarks applicable to Mercury Plastics, which are described
in section V.A of this Notice of Intent to Sue

        As described by Condition S8.C of the Permits, a Level Two Corrective Action requires
that Mercury Plastics: (1) review the SWPPP for the facility and ensure that it fully complies
with Condition S3 of the Permits and contains the correct BMPs from the applicable Stormwater
Management Manual; (2) make appropriate revisions to the SWPPP to include additional
structural source control BMPs with the goal of achieving the applicable benchmark values in
future discharges and sign and certify the revised SWPPP in accordance with the Permits; and
(3) summarize the Level Two Corrective Action (planned or taken) in the Annual Report
required under Condition S9.B of the Permits. Condition S8.C of the Permits requires that
Mercury Plastics implement the revised SWPPP as soon as possible, and no later than August 31
of the following year from the quarter the benchmark was exceeded.

        Mercury Plastics has violated the requirements of the Permits described above by failing
to conduct Level Two Corrective Actions for discharges from its facility in accordance with the
Permits’ conditions. These violations include failure to complete the required review, revision,
and recertification of the SWPPP; the required implementation of additional BMPs, including
additional structural source control BMPs; and the required summarization in the Annual Report
each time since January 1, 2016 its quarterly stormwater sampling results were grater than a
benchmark for any two quarters during a calendar year. As indicated in Table 1 above, these
violations include, but are not limited to, Mercury Plastics’ failure to fulfill these obligations for
turbidity triggered by its stormwater sampling in calendar year 2016; for turbidity triggered by its
stormwater sampling in calendar year 2017; for zinc triggered by its stormwater sampling in
calendar year 2018; and for zinc and turbidity triggered by its stormwater sampling in calendar
year 2020.

       C.      Failure to Implement Level Three Corrective Actions.

       Condition S8.D of the Permits require Mercury Plastics to take a specified action, called a
“Level Three Corrective Action,” each time quarterly stormwater sample results exceed an
applicable benchmark value or are outside the benchmark value for any three quarters during a
calendar year. The Permits establish the benchmarks applicable to Mercury Plastics, which are
described in section V.A of this Notice of Intent to Sue.



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        As described in Condition S8.D of the Permits, a Level Three Corrective Action requires
Mercury Plastics to (1) review the SWPPP for the facility and insure that it fully complies with
Condition S3 of the Permits; (2) make appropriate revisions to the SWPPP to include additional
treatment BMPs with the goal of achieving the applicable benchmark value(s) in future
discharges and additional operational and/or structural source control BMPs if necessary for
proper function and maintenance of treatment BMPs, and sign and certify the revised SWPPP in
accordance with Condition S3.A.6 of the 2015 Permit and Condition S3.A.5 of the 2020 Permit;
and (3) summarize the Level Three Corrective Action (planned or taken) in the Annual Report
required under Condition S9.B of the 2015 Permit and Condition S9.C of the 2020 Permit,
including information on how monitoring, assessment, or evaluation information was (or will be)
used to determine whether existing treatment BMPs will be modified/enhanced, or if
new/additional treatment BMPs will be installed. Condition S8.D.2 of the Permits require that a
Qualified Industrial Stormwater Professional review the revised SWPPP, sign its certification
form, and certify that it is reasonably expected to meet benchmarks upon implementation.

        Condition S8.D.3 of the Permits require that, before installing BMPs that require the site-
specific design or sizing of structures, equipment, or processes to collect, convey, treat, reclaim,
or dispose of industrial stormwater, that Mercury Plastics submit an engineering report
(including the alternatives considered and why the option was selected; design data; results
expected; a statement that the proposed treatment is reasonably expected to meet the
benchmarks, supported by sound engineering justification; and certification by a licensed
professional engineer), and an operations and maintenance manual to Ecology for review. The
engineering report must be submitted no later than May 15 prior to the Level Three Corrective
Action Deadline. The operations and maintenance manual must be submitted to Ecology no later
than 30 days after construction/installation is complete.

      Condition S8.D.5 of the Permits require Mercury Plastics fully implement the revised
SWPPP according to Condition S3 of the Permits and the applicable stormwater management
manual as soon as possible, and no later than September 30th of the following year.

         Mercury Plastics has violated and continues to violate Condition S8.D of the Permits by
failing to conduct a Level Three Corrective Action in accordance with permit conditions,
including: the required review, revision and certification of the SWPPP; the requirement to have
a specified professional design and stamp the portion of the SWPPP pertaining to treatment; the
required implementation of additional BMPs, including additional treatment BMPs; the required
submission of an engineering report, plans, specifications, and an operations and maintenance
plan, and the required summarization in the annual report each time since January 1, 2016 its
quarterly stormwater sampling results were greater than a benchmark for any three quarters
during a calendar year. As indicated in Table 1 above, these violations include, but are not
limited to, Mercury Plastics failed to fulfill these obligations for turbidity and zinc triggered by
its stormwater sampling during calendar year 2020.




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VI.    ANNUAL REPORT VIOLATIONS

       Condition S9.C of the Permits requires Mercury Plastics to submit and complete accurate
annual reports to Ecology, no later than May 15th of each year using Ecology’s Water Quality
Permitting Portal.

        As described by Condition S9.C of the Permits, annual reports shall include corrective
action documentation, and if a corrective action is not complete, Mercury Plastics must describe
the status of any outstanding corrective actions. Each annual report must (1) identify the
condition triggering the need for corrective action review; (2) describe the problem(s) and
identify the dates they were discovered; (3) summarize any Level One, Two and/or Three
Corrective Actions completed during the previous calendar year and include the dates of
completion; and (4) describe the status of any Level Two or Three corrective actions triggered
during the previous calendar year and identify the date of expected completion. Mercury Plastics
must also retain a copy of all annual reports onsite. Mercury Plastics violated the requirements of
the Permits described above by failing to submit complete and accurate annual reports as
required for years 2016, 2017, 2018, 2019, and 2020.

VII.   VIOLATIONS OF REPORTING AND RECORDKEEPING REQUIREMENTS

       A.      Failure to Record Information

         Condition S4.B.4 of the Permits requires Mercury Plastics record and retain specified
information for each stormwater sample taken, including the sample date and time, a notation
describing if Mercury Plastics collected the sample within the first 12 hours of stormwater
discharge event, an explanation of why Mercury Plastics could not collect a sample within the
first 12 hours of a stormwater discharge event, the sample location, method of sample and of
preservation, and the individual who performing the sampling. Mercury Plastics is in violation of
these conditions as it has not recorded each of these specified items for each sample taken since
obtaining Permit coverage.

       B.      Failure to Retain Records

         Condition S4 and S9.D of the Permits requires Mercury Plastics to retain, for a minimum
of five years, a copy of the current Permit, a copy of the Mercury Plastics’ coverage letter,
records of all sampling information and laboratory documentation, inspection reports including
required document, any other documentation of compliance with permit requirements, all
equipment calibration records, all BMP maintenance records, all original recordings for
continuous sampling instrumentation, copies of all laboratory results, copies of all required
reports, and records of all data used to complete the application for the Permit. Mercury Plastics
is in violation of these conditions because it has failed to retain records of such information,
reports, and other documentation since obtaining Permit coverage.




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VIII. FAILURE TO REPORT PERMIT VIOLATIONS

         Condition S9.F of the Permits requires Mercury Plastics to take certain action in the event
that Mercury Plastics is unable to comply with any of the terms and conditions of the Permits
which may endanger human health or the environment, or exceed any numeric effluent
limitations in the Permit. In such circumstances, Mercury Plastics must immediately take action
to minimize potential pollution or otherwise stop the noncompliance and correct the problem,
and Mercury Plastics must immediately notify the appropriate Ecology regional office of the
failure to comply. Mercury Plastics must then submit a detailed written report to Ecology,
including specified details, within 5 days of the time Mercury Plastics became aware of the
circumstances, unless Ecology requests an earlier submission.

        On information and belief, Mercury Plastics routinely violates these requirements,
including each and every time Mercury Plastics failed to comply with the corrective action
requirements described in Section V of this Notice of Intent to Sue, each and every time Mercury
Plastics failed to sample a discharge point, and each and every time Mercury Plastics discharged
stormwater with concentrations of pollutants in excess of the Permit benchmarks and water
quality criteria described above. All these violations may endanger human health and/or the
environment.

IX.    REQUEST FOR SWPPP

       Pursuant to Condition S9.G of the Permits, Columbia Riverkeeper hereby requests that
Mercury Plastics provide Riverkeeper a copy of, or access to, Mercury Plastics’ SWPPP
complete with all incorporated plans, monitoring reports, checklists, and training and inspection
logs within 14 days of receipt of this Notice. The copy of the SWPPP and any other
communications about this request should be directed to the undersigned at the address below.

        Should Mercury Plastics fail to provide the requested complete copy of, or access to, its
SWPPP as required by Condition S9.F of the Permits, Mercury Plastics will be in violation of
that condition, which violation shall also be subject to this Notice of Intent to Sue and any
resulting lawsuit.

X.     PARTY GIVING NOTICE OF INTENT TO SUE

The full name, address, and telephone number of the party giving notice is:

Columbia Riverkeeper
407 Portway Ave, Suite 301
Hood River, OR 97031
(541) 399-5312

XI.    ATTORNEYS REPRESENTING RIVERKEEPER

The attorneys representing Columbia Riverkeeper in this matter are:



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XII.   CONCLUSION

       The above-described violations reflect those indicated by the information currently
available to Columbia Riverkeeper based on its review of the public record. These violations are
ongoing. Columbia Riverkeeper intends to sue for all violations, including those yet to be
uncovered and those committed after the date of this Notice of Intent to Sue.

        Under Section 309(d) of the CWA, 33 U.S.C § 1319(d), Mercury Plastics is subject to a
separate daily penalty assessment for each violation (the current maximum daily penalty
assessment is 37,500 per day for each violation that occurred through November 2, 2015 and
$56,460 for each violation thereafter). In addition to civil penalties, Columbia Riverkeeper will
seek injunctive relief to prevent further violations under Sections 505(a) and (d) of the Clean
Water Act, 33 U.S.C. § 1365(a) and (d), and such other relief as is permitted by law. Also,
Section 505(d) of the Clean Water Act, 33 U.S.C. § 1365(d), permits prevailing parties to
recover costs, including attorney’s fees.

        Columbia Riverkeeper believes that this NOTICE OF INTENT TO SUE sufficiently
states grounds for filing suit. Columbia Riverkeeper intends, at the close of the 60-day notice
period, or shortly thereafter, to file a citizen suit against Mercury Plastics under Section 505(a) of
the Clean Water Act for the violations described herein.

        Columbia Riverkeeper is willing to discuss effective remedies for the violations
described in this letter and settlement terms during the 60-day notice period. If you wish to
pursue such discussions in the absence of litigation, we suggest that you initiate those
discussions within ten (10) days of receiving this notice so that a meeting can be arranged and so
that negotiations may be completed promptly. We do not intend to delay the filing of a complaint
if discussions are continuing when the notice period ends. If you believe that any of the
allegations in this notice are incorrect or based on incomplete information in the public record,


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please bring those facts to our attention.

                                      Sincerely,




                                       _______________________________
                                       Alyssa Koepfgen

       cc:    Michael Regan, Administrator, U.S. EPA
       Michelle Pirzadeh, Region 10 Administrator, U.S. EPA
       Laura Watson, Director, Washington Department of Ecology
       Registered Agent, Mercury Plastics, 3807 SE Hidden Way, Vancouver, WA 98661




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